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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Travis Lane,                          )
Richard Palmer, and                   )
Lea Sutherland-Doane,                 )
as Adm. Estate of David Sutherland,   )
       Plaintiffs                     )
v.                                    )
                                      )               Civil Action No. 1:17 CV 12356-PBS
United States of America              )
Philip Powell, and                    )
F/V Foxy Lady,                        )
        Defendants                    )


    PLAINTIFF, RICHARD PALMER’S MOTION TO COMPEL DEFENDANT TO
    COMPLY WITH THE COURT’S ORDER (Doc. 159) BY PAYING $10,000 AND
          SIGNING THE RELEASE AS ORDERED ON JUNE 19, 2020 –
                                AND
   MOTION FOR SANCTIONS & COSTS AGAINST THE DEFENDANTS’ INSURER
     AND ATTORNEY FOR VIOLATION OF THE COURT’S ORDER (Doc. 159)

   NOW COMES PLAINTIFF, RICHARD PALMER in this Motion to Compel the Defendant
to Comply with the Court’s Order (Doc. 159) and his incorporated Motion for Sanctions and
Costs for violation of that order. In support thereof, the Plaintiff, Richard Palmer, submits the
following for the Court’s consideration.


   I.      Procedural Background
   1. On June 19, 2020, the Court issued an order (Doc.159) enforcing settlement upon motion
        by the Defense (Doc.144);
   2. The order reads (in pertinent part):
               “The terms of the settlement are as follows: (1) Defendants shall pay…$10,000 to
               Richard Palmer; (2) Parties shall sign a full and complete release of all present
               claims, as well as potential 93A/176D claims against Defendants’ insurer; (3) No
               confidentiality provision shall be included in the release.”
   3. Unlike his co-Plaintiffs, Richard Palmer had decided NOT to pursue the appeal;
   4. This was communicated to Kevin Gillis, Esq. on 7/7/2020 via email (Exhibit A);
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                   Mr. Gillis:
                   Mr. Palmer has elected not to go forward with the appeal. Per the Court’s order,
                   please find a release executed by Mr. Palmer attached. Once received, please
                   have your client execute it and send the fully executed release back with the
                   $10,000 check made payable to “Richard Palmer and Orlando & Associates as
                   his attorneys.” Thank you for your prompt attention to this matter.
                   Regards,
                   Joseph M. Orlando, Jr., Esq.
      5. Attached to the email of 7/7/2020 was a release which comported completely with the
            Court’s order, signed by Mr. Palmer (Release attached as Exhibit B);
      6. Mr. Gillis responded on 7/7/2020 by stating, in unequivocal terms that, “I am not
            satisfied with the release you drafted, so I will be sending a different one to you for your
            client to sign.” (Exhibit C)
      7. A full week later and Mr. Gillis has yet to provide the settlement funds, nor the signed
            release.


      II.      ARGUMENT
      Defense Counsel continues the Defense’s bad faith activity. This time, beyond the criminal
misconduct of the Defendants’ insurer, the Defense is openly defying the order of this court
enforcing settlement. In stunning contradiction to his Motion to Enforce Settlement (Doc. 144) 1,
wherein Mr. Gillis asserts that all essential/materials terms of settlement have been agreed-to via
email and that the language of the release is NOT material (as the Plaintiffs have argued in
opposition and in open court), Mr. Gillis now asserts that he “is not satisfied” with the language
of the release ordered by the Court and the defense refuses to comply with the Court order.
      The Court’s order instructed the parties to sign release that released all present claims in the
instant action to be signed by all parties, including release of the 93A/176D claims in the state
court. Despite the undersigned’s legal objections on behalf of the co-Plaintiffs (Lane and the
Estate of Sutherland), Mr. Palmer has elected to put an end to his involvement in this case. So,
the undersigned drafted a release that comports completely with the Court’s order and the



1
    And his arguments in open Court on June 11, 2020
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Defense refuses to pay the money and sign the release as ordered by the Court, forcing the
undersigned to file yet another motion.
   This motion seeks to compel the Defendant to act in good faith, pay the money and have the
defendants sign the release. Failure to do so is in open defiance of the Court’s order and should
be sanctioned. The Courts order applies to all parties.
   The Court has the inherent power to sanction or tax costs upon a party for abuse of the
judicial process. The Court also has the power to sanction an attorney for misrepresentations in
pleadings. Kevin Gillis asserted that the language in a release was NOT a material term of
settlement in his motion to enforce (Doc. 144). The Court then enforced settlement and now he
demands specific language satisfactory to him before paying the $10,000 to Mr. Palmer.
   The Defendants’ position is so contradictory to their previous position and so violative of the
Court’s order that the only equitable action the Court can take to remedy this issue is to compel
the payment of the money and the signing of the release (Exhibit B) by the Defendants AND to
sanction defense counsel and the insurer for violation of the Court’s order.


   III.      CONCLUSION
   Based on the foregoing, inclusive of the associated memorandum of law and all exhibits, the
   Plaintiff, Richard Palmer, requests of this Honorable Court to
rule as follows:
          1) To Compel the Defendants to sign the release and pay the $10,000;
          2) To tax costs against the Defense for forcing the Plaintiff, Richard Palmer, through
             counsel to file this motion to compel compliance with the Court’s order (Doc. 159);
             and
          3) To sanction the Defendant’s counsel and insurer for their willful defiance of the
             Court’s order in a amount deemed appropriate by the Court.


                                                                                          Plaintiffs,
                                                                                  By their attorney,



                                                             ___/s/ Joseph M. Orlando, Jr., Esq.___
                                                                       Joseph M. Orlando, Jr., Esq.
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Certificate of Service

I, Joseph M. Orlando, Jr., Esq. hereby certify that
this document(s) filed through the ECF system will
be sent electronically to the registered participants
as identified in the Notice of Electronic Filing and
paper copies will be sent to counsel for each party
on July 15, 2020.

/s/ Joseph M. Orlando, Jr., Esq.
Joseph M. Orlando, Jr., Esq.
